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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 NATHANIEL ROBINSON and DAVID
                                                           No. Civ. 18-- - - - - --
 EVANS, on behalf of themselves and all others
 similarly situated,
                                                           ECFCase

                                Plaintiffs,
                                                           COMPLAINT
                -against-

 NEW YORK CITY TRANSIT AUTHORITY;
 FERNANDO FERRER, in his official capacity
 as Acting Chairman of the New York City
 Transit Authority; and ANDY BYFORD, in his
 official capacity as President of the New York
 City Transit Authority,

                                Defendants.



                                        INTRODUCTION

        1.     This civil rights class action challenges the lack of due process afforded

individuals by Defendant New York City Transit Authority ("NYCTA") in connection with

default judgments for alleged violations of transit rules of conduct.

       2.      NYCTA fails to provide adequate notice of these default judgments to many

members of the putative class, including the Named Plaintiffs, who first learn that NYCTA

obtained default judgments against them when they receive notice that their state tax refunds

have been or will be offset to enforce the judgments.

       3.      NYCTA obtained the default judgments against Named Plaintiffs without their

knowledge more than a decade ago and, in some instances, more than twenty years ago.

       4.      Because Defendants fail and refuse to provide Named Plaintiffs and putative class

members the most basic information concerning the alleged violations, including copies of any
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relevant Notice of Violation ("NOV"), Named Plaintiffs and putative class members cannot

effectively contest the default judgments and, as pertains to Named Plaintiffs and many class

members, the seizures of their tax refunds.

       5.       Defendants' customs, policies, and practices with respect to obtaining and

enforcing default judgments, including for some putative class members through tax refund

offsets, have affected thousands of individuals.

       6.       The seizure of tax refunds, even if small in amount, adversely impacted Named

Plaintiffs and adversely impacts many class members who are low-income.

       7.       Defendants' customs, policies, and practices with respect to obtaining and

enforcing default judgments violate the rights of Named Plaintiffs and the punitive class under

the Fourteenth Amendment to the United States Constitution, as enforced by 42 U.S.C.

Section 1983.

                                              PARTIES

       8.       Named Plaintiff Nathaniel Robinson resides in Bronx, New York.

       9.       Named Plaintiff David Evans resides in Brooklyn, New York.

        10.     Defendant NYCTA, a municipal board, with an office in New York, New York, is

a public benefit corporation established by the laws of the State of New York.

        11.     Defendant Fernando Ferrer, Acting Chairman ofNYCTA, is sued in his official

capacity.

        12.     Defendant Andy Byford, President of NYCT A, is sued in his official capacity.

        13.     Defendants are responsible for the operation of the Transit Adjudication Bureau

(''TAB").




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       14.       Defendant Byford appoints, and NYCTA compensates, the TAB hearing officers

who preside at hearings and adjudicate alleged transit rule violations.

       15.      TAB remits any monies it collects for alleged transit rule violations to NYCTA.

                                  JURISDICTION AND VENUE

       16.       This action is brought to enforce federal constitutional rights pursuant to 42

u.s.c. § 1983.
       17.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(4).

        18.      Venue lies within this District pursuant to 28 U.S.C. § 139l(b).

                         STATUTORY AND REGULATORY SCHEME

        19.      NYCTA operates the New York City Bus, the New York City Subway, and the

Staten Island Railway. See N.Y. Pub. Auth. Law§ 1202(1); http://web.mta.info/nyct/facts/

about us.htm.

       20.       NYCTA promulgates Rules of Conduct ("Rules") for those who use the New

York City's transit system. See N.Y. Pub. Auth. Law§§ 1203-a(3), 1204(5-a).

        21.      New York City police officers and transit inspectors issue citations for violations

of these Rules, which may be either a criminal court summons or a NOV. See N.Y. Pub. Auth.

Law § 1209-a.

        22.      NOVs are adjudicated in administrative hearings conducted by TAB. See N.Y.

Pub. Auth. Law § 1209-a.

        23.      A NOV shall be served by delivering the notice within the state to the person to

be served. See N.Y. Pub. Auth. Law§ 1209-a(S).

        24.      A NOV "shall contain information advising the person charged of the manner and

the time within which such person may either admit or deny the offense charged in the notice."

See N.Y. Pub. Auth. Law§ 1209-a(S).
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       25.     A NOV must advise the person that a failure to respond to the notice "may result

in a default decision and order being entered against such person, and the imposition of

supplemental penalties[.]" See N.Y. Pub. Auth. Law§ 1209-a(S) (emphasis added).

       26.     "A copy of each notice of violation ... shall be filed and retained" by TAB. See

N.Y. Pub. Auth. Law§ 1209-a(S).

       27.     TAB's guidelines governing its proceedings, adopted pursuant to N.Y. Pub. Auth.

Law § 1209-a(4)(d) (the "Guidelines"), also require that a copy of each NOV be filed and

retained by TAB. Guidelines § 2.1.

       28.     The Guidelines, however, permit TAB to destroy records after four months, even

though TAB seeks to enforce judgments for NOVs years later. See Guidelines § l .8(a).

       29.     An individual who fails to respond to a NOV within the time specified, or

responds but fails to appear at the hearing date, is deemed to have admitted liability, providing

grounds for entry of a default decision and an order and imposition of a penalty. See N.Y. Pub.

Auth. Law § 1209-a(6).

       30.     Any judgment rendered by TAB may be entered in the Civil Court of the City of

New York. N.Y. Pub. Auth. Law§ 1209-a(9)(b).

       31.     Before a default judgment may be entered, TAB must have attempted to notify the

respondent by first-class mail of the default decision and order and the penalty imposed, that a

judgment will be entered in the Civil Court of the City of New York, and that the entry of such

judgments may be avoided by requesting a stay of default for good cause shown and either

requesting a hearing or entering a plea pursuant to TAB's rules within 30 days of the mailing of

such notice. N.Y. Pub. Auth. Law§ 1209-a(9)(c); see also Guidelines 3.8(b).




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       32.     Under the New York Civil Practice Law and Rules, a money judgment may be

enforced for 20 years, and accrues interest from the date of entry at the rate of nine percent per

year. See CPLR §§ 21 l(b), 5003, 5004.

       33.     Pursuant to section 171-f of the Tax Law, NYCTA has the authority to certify any

debt owed to it that is "past due and legally enforceable" to the Commissioner of the Department

of Taxation and Finance ("DTF") to offset a tax refund to pay the outstanding debt as part of the

Statewide Offset Program ("SWOP"). NY Tax § 171-f

       34.     The Guidelines permit the imposition of a $25 default penalty if the individual

fails to appear at TAB on his or her designated hearing date. See Guidelines§ 4.2(a).

       3 5.    The Guidelines also pennit the imposition of a second $25 default penalty if the

individual failed to appear at TAB on his or her designated hearing date and is still in default

more than 30 days afterwards. See Guidelines § 4.2(b).

                                 FACTS COMMON TO THE CLASS

       36.     New York law requires that an NOV be delivered within the state to the person

charged of a violation and that TAB notify any such person of a default decision by first-class

mail before a default judgment may be entered. See N.Y. Pub. Auth. Law§§ 1209-a(S), 1209-

a(9)(c); see also Guidelines 3.8(b).

       37.     In 2016, the New York State Comptroller audited TAB's collection practices and

released a report (the "Repo1t") that stated approximately 40% of the random sample ofNOVs

reviewed for the Report contain inaccurate address information.

       38.     Many putative class members do not receive the notices they are entitled to under

New York law.




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        39.    TAB does not make reasonable efforts to ensure the accuracy of address

information before referring a default judgment to SWOP.

        40.    TAB has a custom, policy, and practice of referring default judgments to SWOP

whenever it has a valid Social Security Number associated with the judgment and $25 or more is

due.

        41.    Accurate address information is not part of TAB' s criteria for referral to SWOP.

        42.    Although TAB's custom, policy, and practice is to send a letter to the last known

address in its files prior to making the SWOP referral, TAB does not take all steps necessary to

ensure the address information is correct.

        43.    TAB's policy and practice of not retaining all NOVs means that those NOVs that

could help confirm TAB's default judgments have not been entered against the correct person

upon proper notice are unavailable for review.

        44.    TAB's hearing guidelines direct TAB to maintain documents such as notices of

violations only "for a period of not less than four months from the date that all administrative

remedies have been exhausted." See Guidelines § l.8(a).

        45.    Even where TAB has maintained original or scanned copies of documents such as

a NOV, TAB does not consistently produce documents to persons requesting them.

        46.    TAB has no written guidelines regarding producing documents upon requests;

rather, TAB has a custom, policy, and practice of refusing to provide requested documents,

rendering it impossible to challenge default judgments.

        47.    TAB has a custom, policy, and practice to offer to provide documents only if the

requesting person pay $10 per document, which in most instances amounts to a substantial

portion of the very judgment the requesting person is attempting to challenge.



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        48.     TAB's custom, poHcy, and practice is to refuse to waive the $10 per document fee

under any circumstances, even if a person requesting the document is indigent.

        49.     TAB's custom, policy, and practice is to provide a "status letter" and no other

information to persons who have default judgments and request copies of their records.

        50.     The "status letter" lists only (i) a violation number; (ii) the purported issue date;

(iii) the "status" of the violation; (iv) the amount purportedly due; and (v) a non-descript

summary of the offense, such as "littering, urinating, defecating, spitting, unauth trash removal."

        51.     The "status letter" does not contain sufficient information to demonstrate that a

default judgment was entered against the correct person upon proper notice.

        52.     The "status letter" cannot confirm whether the fields on the NOV setting forth the

time and date of the hearing, as well as other fields, were in fact legibly filled out by the citing

officer or transit inspector.

        53.     The "status letter" does not contain information demonstrating when and how-

including to what address-TAB purportedly provided the person with notice of a default

decision and order.

        54.     The "status letter" does not contain information demonstrating when and how-

including to what address---TAB purportedly provided the person with notice of a default

judgment.

        55.     The "status letter" does not contain information demonstrating when and how-

including to what address-TAB purportedly provided the person with notice of the SWOP

referral.




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       56.       Only after a TAB hearing officer requests additional information does a TAB

employee offer to provide unspecified documents on a cost-prohibitive basis, though TAB itself

is not always certain as to whether it has any documents relating to particular violations.

       57.       TAB's customs, policies, and practices result in the denial of information

necessary to challenge the default judgments.

        58.      Thousands of putative class members are unaware that TAB has entered a default

judgment against them until their tax refunds are seized by DTF.

       59.       By the time many putative class members' tax refunds are seized by DTF, the

putative class members have no way to challenge the offset because TAB either has already

destroyed all the evidence that those persons could have used to support their claims and/or

defenses or refuses to provide such evidence.

                                   THE NAMED PLAINTIFFS

Named PlaintiffDavid Evans

        60.      Named Plaintiff David Evans is a black New York City resident and Marine

Corps veteran.

        61.      Mr. Evans, who formerly was homeless, worked as a delivery person before

getting injured.

        62.      Because of his injury, Mr. Evans currently is unemployed and subsists on Social

Security Disability Insurance.

        63.      In or around November 2016, Mr. Evans received two separate notices from

TAB, both dated N overnber 17, 2016, stating that TAB was referring two outstanding TAB

violations to DTF for tax refund offset.

        64.      The combined amount due on the two alleged violations was $433.83.



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       65.     The November 2016 TAB offset notices were the first notices that Mr. Evans

received informing him of these two alleged violations.

       66.     The TAB offset notices state that "[i]fyou wish to dispute this matter, you must

appear at TAB in person at the address listed above" and that "[y]ou will be given the

opportunity to present both written and oral evidence and arguments in support of your defense

to the default judgment."

       67.     In response to the TAB offset notices, Mr. Evans visited TAB three times in or

around late 2016 and requested an opportunity to dispute the default judgments.

       68.     On Mr. Evans' first two visits, TAB turned him away without an opportunity to

challenge the default judgments.

       69.     During Mr. Evans' third visit, Mr. Evans appeared before a TAB hearing officer.

       70.     The hearing officer stated that because Mr. Evans had failed to respond to notices

relating to the alleged violations, he was liable for the fines assessed and that, because he was

working at that time, his wages would be garnished.

       71.     The hearing officer did not provide Mr. Evans with a written decision or any

documentation pertaining to the alleged violations or the default judgments rendered by TAB.

       72.     In or about April 2017, Mr. Evans received a letter from DTF stating that his

wages would be garnished.

       73.     Believing that the threatened garnishment stemmed from the TAB default

judgments, Mr. Evans went to TAB on or about April 19, 2017 to request information.

       74.     A TAB employee provided Mr. Evans only a "status letter" dated April 19, 2017,

listing ten "offenses" with a total amount due of $1,904.63 and that categorized three of the

offenses as "written off' and the remaining seven offenses as "SWOP ."



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       75.     On or about August 17, 2017, Mr. Evans again went to TAB to request

information related to the default judgments.

       76.      A TAB employee printed out a "status letter" dated August 17, 2017 that listed

the same ten violations as in the April 19th letter but a higher total amount due of $1,962.16.

       77.     The status letters state that all but one of the alleged violations date from between

January 1999 and December 2001 and that one alleged violation dates from December 2005.

       78.     At the time of all of the alleged violations, Mr. Evans was homeless and indigent,

and sleeping at homeless shelters where identity theft was a frequent occurrence.

       79.     Mr. Evans requested copies of the original NOVs purportedly served upon him,

but the TAB employee stated that the only information available was the status letter.

       80.     Mr. Evans also requested from the TAB employee records from his 2016

appearance before the TAB hearing officer, such as a transcript and a copy of the decision, but

was told that no such information was available and that TAB had no record of his appearance

before the hearing officer.

       81.     TAB had already entered default judgments against Mr. Evans for all ten alleged

violations.

       82.     Mr. Evans never received notice from TAB that a default judgment would be or

had been entered against him for any of the alleged violations.

        83.    On or about November 6, 2017, Mr. Evans' counsel, on Mr. Evans' behalf, sent a

letter to TAB requesting information and documents pertaining Mr. Evans' alleged violations

and default judgments.

        84.    On or about December 15, 2017, TAB responded to the November 6, 2017

request for information and documents by sending another status letter.



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       85.     On or about November 15, 2017, Mr. Evans, with the assistance of counsel,

submitted requests to vacate the ten TAB default judgments.

       86.     On or about January 3, 2018, TAB provided responses to seven of the default

judgments, by stating that TAB was vacating one (Violation No. 083504154), requesting more

information concerning two (NOV Nos. 072881849 and 081014396) and denying the request as

to four (Violation Nos. 087001760, 081031812, 096387500 and 083140155).

       87.      In vacating the default judgment for Violation No. 083504154, the TAB hearing

officer stated that "[t]he NOV is not legally sufficient to establish a prima facie ca,se" because

"[t]he NOV image ... is i11egible and the details of the violation cannot be ascertained," thus

demonstrating that TAB has documents that it repeatedly refused to provide to Mr. Evans.

       88.     In responding to Mr. Evans' request to vacate the default judgment for NOV No.

072881849, the TAB hearing officer stated both that "the NOV establishes a prima facie case"

and that "the TAB copy of the Notice of Violation has been archived and is not currently

available for review."

        89.    Similarly, in responding to Mr. Evans' request to vacate the default judgment for     I.




NOV No. 081014396, the TAB hearing officer described the allegations in the NOV and stated

that "the TAB copy of the Notice of Violation has been archived and is not currently available

for review."

        90.    In responding to Mr. Evans' requests to vacate the default judgments for NOV

Nos. 072881849 and 081014396, the TAB Hearing Office further ordered that TAB retrieve the

NOVs "from the archive" and that Mr. Evans appear after 60 days with evidence to rebut the

NOVs that he has never seen and that TAB repeatedly refused to provide.




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       91.     With regards to NOV Nos. 072881849 and 081014396 and Violation Nos.

087001760, 081031812, 096387500 and 083140155, the TAB hearing officer also stated, "When

the Respondent failed to answer the NOV on or before the hearing date, it was deemed that an

admission to the charge had been made pursuant to the warning on the NOV and the mandatory

fine was imposed with an additional $25 penalty and TAB mailed a First Notice of Default to the

Respondent. When the Respondent failed to respond to the First Notice of Default within 30

days, a second $25 penalty was assessed and a Notice oflmpending Judgment was mailed to the

Respondent."

       92.     Mr. Evans never received any "First Notice of Default" from TAB regarding

these alleged NOV Nos. or Violations Nos.

       93.     Mr. Evans never received any "Notice of Impending Judgment" from TAB

regarding these alleged NOV Nos. or Violations Nos.

       94.     TAB's written responses to each of the violations further stated, "This request for

additional information will not be considered an adjournment of this matter. All collection and

enforcement proceedings 0£_. garnishment of wages, seizure of bank account, lien on real

property) will continue and remain in effect."

       95.     The TAB hearing officer denied the requests to vacate the remaining four default

judgments (Violation Nos. 087001760, 081031812, 096387500 and 083140155), despite Mr.

Evans' statements that he did not receive the NOVs, on the ground that Mr. Evans "submit[ted]

no documentation establishing that any of the infonnation contained in the NOV is incorrect,"

thereby faulting Mr. Evans for failing to rebut documents that he has never seen and TAB

repeatedly refused to provide to him.




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       96.     On or about February 21, 2018, TAB responded to Mr. Evans' request for more

information concerning the remaining three default judgments (NOV Nos. 084996551,

086408071, and 085650988).

       97.     In response to each of these violations, the TAB hearing officer stated, "When the

respondent failed to answer the NOV (either in person or by mail) on or before the hearing date,

a $25 default penalty was assessed pursuant to the warning on the NOV, and a first notice of

default was sent to the respondent. When the respondent failed to answer the notice of default

within the next 30 days a second $25 default penalty was assessed and a notice of impending

judgment default was mailed to respondent."

       98.     Mr. Evans never received any "First Notice of Default" from TAB regarding

these a11eged violations.

       99.     Mr. Evans never received any "Notice oflmpending Judgment" from TAB

regarding these alleged violations.

        100.   TAB's February 21, 2018 responses to NOV Nos. 084996551, 086408071, and

085650988 referred to the contents of the NOVs and directed Mr. Evans to appear at TAB in

person and bring information "in support of his claim that he does not believe the NOV was

issued to him," even though TAB repeatedly refused to provide him with a copy of the NOVs.

        101.   TAB's responses to each of these violations further stated, "This request for

additional information will not be considered an adjournment of this matter. All collection and

enforcement proceedings (i.e. garnishment of wages, seizure of bank account, Jien on real

property) will continue and remain in effect."

        102.   On or about April 20, 2018, Mr. Evans visited TAB again, and again requested

that TAB provide relevant documents, including copies of the NOVs, any notices allegedly



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provided to Mr. Evans, any documents that the hearing officer relied upon in requesting further

information from Mr. Evans to adjudicate the requests to vacate the default judgments, and

information concerning which alleged violations have caused tax refund offsets and the amount

of such offsets.

        103.       TAB refused to tell Mr. Evans what documents it had available and demanded

that Mr. Evans pay $10 to review each document, which could total as much as $400 for the

requested documents and $100 for the NOVs.

        104.       Mr. Evans did not have the $10 needed to review one NOV, let alone the $100

necessary to review all ten of them.

        105.       On or about May 16, 2018, Mr. Evan's counsel visited TAB in an attempt to

obtain documents on Mr. Evans' behalf.

        106.       A TAB employee stated that:

               •   Only NOVs could be provided;

               •   Each NOV would cost $10 to view;

               •   The $10 per document fee could not be waived for the indigent;

               •   It was up to the hearing officer whether to show Mr. Evans the relevant

                   documents that the hearing officer would consider at any hearing;

               •   It was up to the hearing officer whether to adjourn a hearing if the hearing officer

                   decided to provide Mr. Evans the relevant documents that the hearing officer

                   would consider at any hearing;

               •    Some NOVs maybe "too old" to access; and

               •   TAB would not inform counsel which NOVs were actually available because Mr.

                    Evans' release form was not notarized.


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          107.   TAB informed counsel that none of these aforementioned policies were written

and that TAB does not "have written policies for this sort of thing"; rather, this was TAB' s

custom, policy, and practice with respect to requests for TAB records.

          108.   TAB has provided Mr. Evans with no additional information and his default

judgments have not been vacated.

          109.   Without viewing any of these documents, Mr. Evans cannot prepare a meaningful

challenge and present meritorious defenses to any TAB default judgments.

          110.   In 2018, Mr. Evans' entire tax refund for the tax year 2017 was offset due to TAB

debts.

          111.   Part of the offset appears to have been for Violation No. 083504154, which TAB

dismissed in January 2018, as stated above, but TAB has not returned the money offset- more

than $400-to Mr. Evans.

          112.   According to a TAB status letter dated January 18, 2019, Mr. Evans sti11 owes

NYCTA and TAB $1,293.06 for the nine alleged violations that TAB did not dismiss.

          113.   Upon the filing of Mr. Evans' future tax returns, any refund due to him will be

subject to offset because the outstanding alleged debts due to NYCTA have not been satisfied.

          114.   Mr. Evans cannot meaningfully contest the default judgments or the related tax

refund offsets because TAB has repeatedly denied him access-through the application of its

customs, policies, and practices-to copies of the NOVs and other documents setting forth the

alleged circumstances of the underlying violations and default judgments.

          115.   The NOVs should show the specific dates, times, and locations of the infractions

and should provide identifying information concerning the person to whom the violation was

issued.



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       116.      With that information, Mr. Evans would be better able to demonstrate that he was

not the person to whom the violation was issued.

       117.      Persons summonsed on NYCTA property present stolen identification to police

officers to avoid penalty.

Named PlaintiffNathaniel Robinson

       118.      PlaintiffNathaniel Robinson is a black New York City resident.

       119.      He is currently unemployed and subsists on public assistance and food stamps.

       120.      In or around early August 2017, Mr. Robinson received notices from DTF dated

July 27 and 28, 2017, stating that DTF had applied his New York State tax refunds for the years

2014, 2015, and 2016, totaling $189, to a TAB debt.

        121.     After receiving the July 2017 notices, Mr. Robinson went to TAB to inquire about

the alleged debt, whereupon he was told that the debt stemmed from a 20-year-old ticket for

unsafe riding.

        122.     On or about August 31, 2017, Mr. Robinson returned to TAB to request

documentation related to the alleged debt, including copies of the underlying NOV and any

default judgment issued.

        123.     A TAB employee gave Mr. Robinson a status letter listing two "offenses"--one

for ''unsafe riding" and another for "smoking"-and stating a total amount due of $418.78.

        124.     The status letter categorized the "unsafe riding" offense in "SWOP" status,

meaning that NYCTA had certified the alleged debt to DTF so that tax refunds could be offset

pursuant to the Statewide Offset Program, as set forth in NY Tax§ 171-£

        125.     The status letter categorized the "smoking" offense as in 'Judgment" status.




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       126.    Mr. Robinson asked for copies of the NOVs, but the TAB employee stated that no

information or documentation other than the status letter was available.

       127.    According to the status letter, the alleged "unsafe riding" offense dates from April

16, 1997 and the a11eged "smoking" offense dates from March 13, 2003.

       128.    TAB rendered default judgments against Mr. Robinson for both violations in 1997

and 2003, respectively.

       129.    Mr. Robinson never received notice that a default judgment would be or had been

entered against him for either violation.

       130.    Mr. Robinson never received notice that any TAB default judgment against him

would be or had been referred to SWOP.

       13 1.   Mr. Robinson had no notice of the TAB default judgments against him until in or

around early August 2017, after DTF seized three years' worth of his tax refunds.

       132.    On or about November 6, 2017, Mr. Robinson's counsel, on Mr. Robinson's

behalf, sent a letter to TAB requesting information and documents pertaining to Mr. Robinson's

violations and default judgments.

        133.   TAB responded to this request with print-outs similar to the status letters from

TAB's computer system-none of which provide sufficient information for Mr. Robinson to

challenge the default judgments.

        134.   TAB did not provide copies of the NOVs for either of Mr. Robinson's alleged

violations or notices pertaining to either default judgment.

        135.   On or about November 15, 2017, Mr. Robinson, with the assistance of counsel,

submitted requests to vacate the TAB default judgments against him.




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       136.    By letter dated December 8, 2017, a TAB hearing officer responded to Mr.

Robinson stating that Mr. Robinson's failure to respond to the "smoking" NOV had resulted in a

default judgment.

       13 7.   The letter indicated that the hearing officer had reviewed the "smoking" NOV that

TAB had refused to provide to Mr. Robinson.

       138.    In that same letter, the hearing officer requested that Mr. Robinson "submit proof

that he is not the person who received the Notice of Violation and proof of where he was at the

time the Notice of Violation was issued," thereby requiring Mr. Robinson to rebut a document

that he has never seen and TAB repeatedly refused to provide.

       139.    By letter dated December 8, 2017, a TAB hearing officer responded to Mr.

Robinson stating that Mr. Robinson's failure to respond to the "unsafe riding" NOV had resulted

in a default judgment.

       140.    The letter indicated that the hearing officer had reviewed the "unsafe riding"

NOV that TAB had refused to provide to Mr. Robinson.

       141.    In that same letter, the hearing officer requested that Mr. Robinson "submit proof

that he is not the person who received the Notice of Violation and proof of where he was at the

time the Notice of Violation was issued," thereby requiring Mr. Robinson to rebut a document

that he has never seen and TAB repeatedly refused to provide.

       142.    The hearing officer requested that TAB "provide documents regarding the

judgment" for the "unsafe riding" violation thus indicating that TAB has additional documents

relevant to Mr. Robinson's supposed violations and default judgments that TAB repeatedly

refused to provide to Mr. Robinson.




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       143.     In both December 8, 2017 letters, the hearing officer also stated, "When the

Respondent failed to answer the Notice of Violation on or before the hearing date, it was deemed

that an admission to the charge had been made pursuant to the warning on the Notice of

Violation and the mandatory fine was imposed with an additional $25 default penalty. TAB

mailed a Default Decision and Order to the Respondent and advised him that failure to respond

within 30 days will result in the assessment of a second $25 default penalty and a judgment will

be entered in the Civil Court of the City of New York."

       144.     Mr. Robinson had never received any "Default Decision and Order" from TAB

regarding these two alleged violations.

       145.     TAB's responses further stated, "[t]he granting of this request for additional

information will not be considered an adjournment of this matter. All collection and

enforcement proceedings (i.e. garnishment of wages, seizure of bank account, lien on real

prope:tty) will continue and remain in effect."

        146.    On or about June 6, 2018, Mr. Robinson again attempted to obtain relevant

documents from TAB, including copies of the NOVs, any notices allegedly provided to Mr.

Robinson, and any documents that the hearing officer relied upon.

        147.    This time, a TAB employee asked Mr. Robinson to complete an Information

Request Form.

        148.    Upon receiving the completed Information Request Form, a TAB employee

initially told Mr. Robinson that the NOVs for both alleged violations were unavailable for

review-likely because the violations were too old.

        149.    When pressed, however, a TAB supervisor stated to Mr. Robinson that the

hearing officer had reviewed physical copies of the original NOVs.



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       150.       The TAB supervisor stated to Mr. Robinson that:

              •   Documents other than NOVs were not available for review;

              •   Each NOV would cost $10 to view;

              •   The $10 per-document fee could not be waived for the indigent;

              •   TAB did not know whether the hearing officer would show Mr. Robinson the

                  relevant documents that the hearing officer would consider at any hearing; and

              •   Some NOVs may be "too old" to access.

       151.       The TAB supervisor stated to Mr. Robinson that none of these aforementioned

policies were written, but are the customs and practices of TAB.

       152.       Mr. Robinson cannot afford to pay $10 per document to review the documents

considered by the hearing officer.

       153.       TAB has provided Mr. Robinson with no additional information and his default

judgments have not been vacated.

       154.       According to a TAB status letter dated January l 8, 2019, Mr. Robinson still owes

NYCTA and TAB $475.51 for the alleged "smoking" and "unsafe riding" violations.

       155.       Upon the filing of Mr. Robinson's future tax returns, any refund due to him will

be subject to offset because the outstanding alleged debts due to NYCTA have not been satisfied.

       156.       Mr. Robinson cannot meaningfully contest the default judgments or the related

tax refund offsets because TAB has repeatedly denied him access-through the application of its

customs, policies, and practices--to copies of the NOVs and other documents setting forth the

alleged circumstances of the underlying violations and default judgments.




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       157.    For example, the NOVs ought to show the specific dates, times, and locations of

the infractions and might provide identifying information concerning the person to whom the

violation was issued.

       158.    With that information, Mr. Robinson could demonstrate that he was not the

person to whom the violation was issued.

       159.    Persons summonsed on NYCTA property present stolen identification to police

officers to avoid penalty.

                                    CLASS ALLEGATIONS

        160.   The Named Plaintiffs bring this class action pursuant to Rule 23(a) and (b)(2) of

the Federal Rules of Civil Procedure on behalf of a class defined as follows: All persons against

whom TAB has entered or will enter a default judgment and for whom TAB has not provided or

will not provide access to the notice of violation, notice of default judgment, or any other

documents necessary for the class member to challenge the judgment and its enforcement.

        161.   The class is so numerous that joinder of all members is impracticable.

        162.   The class contains thousands of persons, as the Report stated that TAB had more

than 1.7 million outstanding j udgrnents as of December 31, 2015.

        163.   There are numerous questions oflaw and fact common to the class, including:

               (a)      whether TAB preserves documents, such as copies ofNOVs, necessary for

               class members to contest default judgments and their enforcement;

               (b)      whether TAB has customs, policies, and practices pursuant to which it

               refuses to provide copies ofNOVs and other documents to class members seeking

               to contest default judgments and their enforcement;




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                (c)    whether TAB has customs, policies, and practices pursuant to which it

                charges $10 to view a copy of a NOV, and the fee is not waivable for indigence;

                (d)    whether TAB certifies judgments to DTF for tax refund offset even when

                the documents concerning the alleged underlying violation of the Rules of

                Conduct have been destroyed or cannot otherwise be accessed; and

                (e)    whether TAB has entered or will enter a default judgment.

        164.    The Named Plaintiffs' claims are typical of the claims of the members of the

classes as all members of the classes are similarly affected by Defendant's wrongful conduct

specified above in violation of 42 U.S.C. Section 1983.

        165.    Declaratory and injunctive relief are appropriate with respect to the class as a

whole, because Defendants have acted on grounds applicable to the class.

        166.    The Named Plaintiffs serving as class representatives will advance the interests of

the absent class members.

        167.    The Named Plaintiffs have retained counsel experienced in civil rights and class

action litigation.

        168.    The National Center for Law and Economic Justice has litigated numerous cases

seeking to enforce the due process rights oflow-income people in federal distiict courts

throughout the country and the United States Supreme Court, including through class action.

        169.    New Economy Project has litigated numerous cases in federal district courts,

including class actions, seeking to enforce the rights of low-income people and people of color.

        170.    Drinker Biddle & Reath LLP is a national law firm with a leading class action

practice that has extensive experience litigating complex class actions.




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       171.      The law firm of Jerry Hartman has extensive experience litigating class actions

and pattern and practice cases throughout the United States.

                               FIRST CAUSE OF ACTION
        Due Process Violation - Deprivation of Notice and Opportunity to be Heard

       172.      Plaintiffs repeat and reiterate, and incorporate herein by reference, Paragraphs 1

through 171 as if the same were set forth fully and at length herein.

       173.      Defendants have violated the rights of the Named Plaintiffs and the class that they

represent by denying them their right to procedural due process under the Fourteenth

Amendment to the United States Constitution by ( 1) entering default judgments against them

without adequate notice of the transit violation, the default penalties, and/or the judgment itself;

(2) denying them meaningful opportunity to contest the transit violation, the default penalties,

default judgment, and/or the tax refund offset; and (3) refusing access to documents necessary to

challenge any default judgment.

                                SECOND CAUSE OF ACTION
               Due Process Violation -Refusal to Waive Fees based Upon Indigence

        174.     Plaintiffs repeat and reiterate, and incorporate herein by reference, Paragraphs 1

through 173 as if the same were set forth fully and at length herein.

        175.     Defendants have violated the rights of the Named Plaintiffs and the class that they

represent by denying them their right to procedural due process under the Fourteenth

Amendment to the United States Constitution by its policy, custom, and practice to not waive

fees for reviewing documents in TAB' s possession that are necessary to contest the default

judgments entered against them, despite Plaintiffs' indigence.




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                                   THIRD CAUSE OF ACTION
             Due Process Violation - Deliberate Indifference to Constitutional Rights

        176.     Plaintiffs repeat and reiterate, and incorporate herein by reference, Paragraphs 1

through 175 as if the same were set forth fully and at length herein.

        l 77.    Defendants have violated the rights of the Named Plaintiffs and the class that they

represent by denying them their right to procedural due process under the Fourteenth

Amendment to the United States Constitution by their deliberate indifference to the fact that its

formal policies, customs and practices will result in the denial of constitutional rights.

                                     REQUEST FOR RELIEF

WHEREFORE, Plaintiffs ask this Cow1 to:

        1.       Certify that this action may be maintained as a class action pursuant to Rule

23(b)(2) of the Federal Rules of Civil Procedure;

       2.        Declare that Defendant NYCTA has violated Named Plaintiffs' rights, and the

rights of class that they represent, under the Due Process Clause of the Fourteenth Amendment to

the United States Constitution;

        3.       Enter an injunction (i) prohibitingNYCTA from certifying TAB default

judgments to DTF for tax refund offset or otherwise enforcing TAB default judgments until such

time as it has developed procedures to provide class members adequate notice and an opportunity

to be heard; and (ii) barring NYCTA from certifying TAB judgments to DTF in cases where it

does not possess and/or cannot obtain a copy of the original Notice of Violation, Default

Decision and Order, or other documents that are in the record;

       4.        Enter an Order awarding the Named Plaintiffs and the class that they represent

litigation costs and reasonable attorneys' fees pursuant to 42 U.S.C. § 1988;




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          5.   Enter an Order awarding the Named Plaintiffs a refund of their improperly seized

tax refunds and/or garnished wages; and

          6.   Enter an Order awarding such other and further relief as the Court deems just and

proper.



Dated: New York, New York                   Respectfully submitted,
       February 13, 2019
                                                                                   LP

                                                                                   ---AJ----- -


                                                          Justin M. Ginter

                                            11 77 A venue of the Americas
                                            41st Floor
                                            New York, NY 10036
                                            212-248-3140
                                            Clay.Pierce@dbr.com
                                            Andrew.VanHouter@dbr.com
                                            Justin.Ginter@dbr.com


                                            Marc Cohan
                                            Katharine Deabler-Meadows
                                            Claudia Wilner
                                            NATIONAL CENTER FOR LAW
                                            AND ECONOMIC JUSTICE, INC.
                                            275 Seventh Avenue, Suite 1506
                                            New York, New York 10001
                                            (212) 633-6967


                                             Susan Shin
                                             Raul Carrillo
                                             NEW ECONOMY PROJECT
                                             121 W. 27th St., Suite 804
                                             New York, NY 10001
                                             (212) 680-5100

                                                       -and-


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                              Gerald S. Hartman*
                              LAW OFFICES OF GERALDS. HARTMAN
                              3607 Whispering Lane
                              Falls Church, VA 22041
                              (703) 919-0423
                              * Seeking Admission Pro Hae Vice




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